Case 2:10-md-02179-CJB-DPC Document 12440-8 Filed 03/03/14

Cameron International Corporation
Excess Liability
July 1, 2009 — 2010

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